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                       IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT COURT OF NORTH CAROLINA
                                   RALEIGH DIVISION

  In re:

  RODNEY ALLEN MCCOWAN,                                     Case No. 09-10347-8-JRL

  Debtor.                                                   Chapter 11




                           BANK OF AMERICA, N.A.’S OBJECTION
                TO CONFIRMATION OF DEBTOR’S PLAN OF REORGANIZATION

           Bank of America, N.A. (the “Bank”) objects to Confirmation of the Debtor’s Plan of

 Reorganization filed on March 1, 2010 (the “Plan”) and respectfully shows the Court the

 following in support thereof:

           1.      On November 30, 2009 (the “Petition Date”), the Debtor filed for bankruptcy

 protection under Chapter 11 of the Bankruptcy Code.

           2.      The Bank holds a secured claim against the Debtor as evidenced by the Proof of

 Claim filed in this case on April 1, 2010 (the “Proof of Claim”). As set forth in the Proof of

 Claim, as of the Petition Date, $1,423,001.04 was due under the Promissory Note dated April 5,

 2002 executed by the Debtor and Laurie McCowan (now known as Laurie Hayakawa)

 (“Hayakawa”) for the benefit of the Bank (as amended to date, the “Note”).

           3.      The Bank is the holder of a Deed of Trust executed by the Debtor and Hayakawa

 for the benefit of the Bank dated April 5, 2002 and recorded on April 5, 2002 in Book 3407 at

 Page 825 of the Durham County Register of Deeds (the “Deed of Trust”) encumbering the real

 property owned by the Debtor and located at 222 Tennwood Court, Durham, North Carolina (the

 “Real Property”), which serves as security for the Note.




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          4.    Prior to the Petition Date, the Debtor and Hayakawa defaulted on the Note and the

 Bank commenced foreclosure on the Deed of Trust. A foreclosure hearing was held on

 October 27, 2009, pursuant to which the Clerk of the Durham County Superior Court entered an

 Order Authorizing Sale of the Real Property and made certain conclusions of law, including but

 not limited to, the conclusions that the Bank is the owner and holder of a valid indebtedness and

 that the Debtor and Hayakawa are in default for failure to make monthly payments when due and

 for the failure to pay the full amount of the indebtedness upon demand by the Bank.

          5.    In the Debtor’s Chapter 11 Petition filed on November 30, 2009 (the “Petition”),

 the Debtor alleges that the Real Property has a value of $1,450,000.00. In the Plan filed three

 months later, the Debtor alleges that the Real Property has a value of approximately $870,000.00

 with no explanation or support for the precipitous drop in the value. The Bank contests this

 valuation and reserves the right to present evidence supporting the fair market value of the Real

 Property at the confirmation hearing.

          6.    According to the Petition, the Debtor currently resides in San Jose, California.

 Upon information and belief, the Real Property is vacant and produces no income for the Debtor.

          7.    The Bank’s first priority secured claim on the Real Property as of the Petition

 Date was $1,423,001.04. According to the Petition, (i) the 2009 taxes on the Real Property

 payable to the County of Durham are delinquent as of the Petition Date in the amount of

 $25,846.00; (ii) Wachovia Bank, N.A.’s second priority secured claim on the Real Property as of

 the Petition Date was approximately $506,224.84; and (iii) Bank of America, N.A.’s third

 priority secured claim on the Real Property as of the Petition Date was approximately

 $47,737.00. There is no equity in the Real Property.

          8.    The Debtor treats the Bank as a Class 5 and Class 9 claimant in the Plan.



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          9.     The Class 5 treatment under the Plan attempts to reduce the Bank’s allowed

 secured claim on the Real Property from $1,423,001.04 to $870,000.00. The Plan proposes to

 amortize the claim over 30 years at a fixed interest rate of 5% per annum.

          10.    The Debtor proposes to include any allowed claim of Class 5 in excess of

 $870,000.00 in Class 9, which is comprised of all Allowed Unsecured Claims. The Debtor

 proposes to make 20 quarterly payments of $2,400.00 to Class 9, with the first such payment due

 August 1, 2010.

          11.    Contemporaneously herewith, the Bank is submitting a ballot rejecting the Plan.

          12.    The Plan proponent bears the burden of establishing that the Plan complies with

 the requirements of 11 U.S.C. § 1129. In the instant case, the Debtor cannot satisfy his burden

 for confirmation, and the Bank objects to confirmation for the following reasons:

                 (a)     The Plan fails to satisfy 11 U.S.C. § 1129(a)(7)(A)(ii) of the Bankruptcy

          Code in that the Bank will not receive or retain under the Plan an amount at least equal to

          the amount the Bank would have received in Chapter 7;

                 (b)     The Plan fails to satisfy 11 U.S.C. § 1129(a)(8) of the Bankruptcy Code in

          that the Bank will be impaired by the Plan;

                 (c)     The Debtor proposes to amortize a portion of the Bank’s secured claim

          over a period of thirty (30) years at a 5% fixed rate of interest. The Bank objects to

          confirmation of the Plan because it fails to pay the Bank’s secured claim at an appropriate

          rate of interest that provides the Bank with the present value of its collateral. See Till v.

          SCS Credit Corp., 541 U.S. 465,124 S. Ct. 1951, 158 L. Ed. 2d 787 (2004);

                 (d)     In the Petition dated November 30, 2009, the Debtor stated that the Real

          Property had a value of $1,450,000.00. In the Plan dated March 1, 2010, the Debtor

          stated that the Real Property has a value of $870,000.00. Under Article VIII of the Plan,

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                 (e)     Upon information and belief, the Real Property is vacant, it produces no

          income for the Debtor, and there is no equity in the Real Property. According to the Plan,

          the Real Property will not be used for any purpose in the reorganization except to secure

          a fraction of the Bank’s claim;

                 (f)     Article IX of the Plan provides that the Debtor shall make 20 quarterly

          payments of $2,400.00 to all claimants under Class 9 for a total of $48,000.00 in

          payments. If the Debtor’s plan is approved as it is currently proposed, over $500,000.00

          of the Bank’s claim will be unsecured. The proposal set forth in Article IX is not fair and

          equitable;

                 (g)     The Plan does not provide sufficient provisions related to events of default

          and remedies for failure to comply with the Plan; and

                 (h)     Such other reasons as may be discovered or appear at the confirmation

          hearing.

          WHEREFORE, the Bank respectfully requests that the Court:

          1.     Hold a hearing on the Bank’s Objection;

          2.     Deny confirmation of the Plan; and

          3.     Grant the Bank such additional relief as it may be entitled to under the facts and
                 applicable law.




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          This 16th day of April, 2010.


                                          /s/ Scott P. Vaughn
                                          Scott P. Vaughn
                                          Bar Number 13741
                                          Meredith G. Stone
                                          Bar Number 37074
                                          Attorneys for Bank of America, N.A.
                                          McGuireWoods LLP
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                                        CERTIFICATE OF SERVICE

          I hereby certify that BANK OF AMERICA, N.A.’S OBJECTION TO

 CONFIRMATION OF DEBTOR’S PLAN OF REORGANIZATION has been served by

 electronic notice or mailing a copy thereof, first class U.S. mail, postage prepaid to the

 following:

 Rodney Allen McCowan                     BMW Financial Services NA LLC    Bank of America, N.A.
 PO Box 90102                             Hale, Dewey & Knight, PLLC       c/o Scott P. Vaughn
 Raleigh, NC 27675                        88 Union Avenue, Suite           McGuireWoods LLP
                                          Memphis, TN 38103-5126           PO Box 31247
                                                                           Charlotte, NC 28231-1247

 Bill Janvier                             Recovery Management Systems      Wachovia Bank, N. A.
 Everett, Gaskins, Hancock, & Stevens     Corporation                      P.O. Box 13765-R4057-01P
 127 West Hargett Street, Suite 600       Attn: Michael A. DeGiovanni      Roanoke, Va 24037-3765
 Raleigh, NC 27601                        25 S. E. Second Avenue
                                          Ingraham Building, Ste. 1120
                                          Miami, FL 33151-1605

 Bankruptcy Administrator                 AAC Credit Union                 Absolute Collection Services
 434 Fayetteville St. Mall, Ste. 620      Attn: Managing Agent             Attn: Managing Agent
 Raleigh, NC 27601-1888                   904 Broadway Avenue NW           421 Fayetteville Street Mall #600
                                          Grand Rapids, MI 49504-4477      Raleigh, NC 27601-1777

 U. S. Bankruptcy Court                   American Express                 American Express Centurion Bank
 1760 A Parkwood Blvd.                    Attn: Managing Agent             c/o Becket and Lee LLP
 Wilson, NC 27893-3588                    PO Box 650448                    POB 3001
                                          Dallas, TX 75265-0448            Malvern PA 19355-0701

 Alice Marie Crawford                     Bald Head Association            Bank of America
 7501 SW Cherokee Ave.                    Attn: Managing Agent             Attn: Managing Agent
 Lawton, OK 73505-6412                    PO Box 3030                      101 North Tryon Street
                                          Southport, NC 28461-7000         Charlotte, NC 28255-0001

 BMW FINANCIAL SERVICES                   Bank of America                  Bank of America
 CUSTOMER SERVICE CENTER                  Attn: Managing Agent             PO Box 537102
 PO BOX 3608                              PO Box 21848                     Atlanta, GA 30353-7102
 DUBLIN OH 43016-0306                     Greensboro, NC 27420-1848

 Bank of America                          Bank of America Visa             Barry Mann
 Attn: Managing Agent                     Attn: Managing Agent             Mannin, Fulton & Skinner
 475 CrossPoint Parkway, PO Box 9000      PO Box 15019                     PO Box 20389
 Getzville, NY 14068-9000                 Wilmington, DE 19886-5019        Raleigh, NC 27619-0389

 Bank of America Line of Credit           Brunswick County Revenue         Chase / Circuit City
 Attn: Managing Agent                     Attention: J Therrien            Attn: Managing Agent
 PO Box 15019                             P.O. Box 29                      800 Brooksedge Boulevard
 Wilmington, DE 19886-5019                Bolivia, NC 28422-0029           Columbus, OH 43081-2822



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 Brandon McCowan                     County of Brunswick            County of Durham
 PO Box 90102                        Attn: Managing Agent           Attn: Managing Agent
 Raleigh, NC 27675-0102              PO Box 29                      Post Office Box 3397
                                     Bolivia, NC 28422-0029         Durham, NC 27702-3397

 Corning FCU                         DISCOVER BANK                  Direct Loans
 Attn: Managing Agent                DFS Services LLC               Attn: Managing Agent
 One Credit Union Plaza              PO Box 3025                    PO Box 7202
 Corning, NY 14830-2857              New Albany, Ohio 43054-3025    Utica, NY 13504-7202

 Credit Collection Service
 Two Wells Avenue
 Dept. 9134
 Newton Center, MA 02459-3208

          This 16th day of April, 2010.


                                              /s/ Scott P. Vaughn
                                              Scott P. Vaughn




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